      Case 4:19-cv-03283 Document 73 Filed on 05/11/23 in TXSD Page 1 of 1
                                                                                    United States District Court
                                                                                      Southern District of Texas

                                                                                         ENTERED
                            UNITED STATES DISTRICT COURT                                 May 11, 2023
                             SOUTHERN DISTRICT OF TEXAS                               Nathan Ochsner, Clerk
                                 HOUSTON DIVISION


JOHN M KIMBRO, JR., et al.,                     §
                                                §
        Plaintiffs,                             §
                                                §
VS.                                             §   CIVIL ACTION NO. 4:19-CV-03283
                                                §
BANK OF AMERICA, N.A.,                          §
                                                §
        Defendant.                              §

               ORDER GRANTING PLAINTIFF’S NOTICE OF NON-SUIT

       On this day, the Court considered the plaintiff, Lori Kimbro’s notice of non-suit (Dkt.

No. 68). The Court being fully advised, finds that the request is founded and is hereby Granted.

       It is, therefore, ORDERED that this case be dismissed for non-suit.

       It is so ORDERED.

       SIGNED on May 11, 2023, at Houston, Texas.


                                                     _________________________________
                                                     Kenneth M. Hoyt
                                                     United States District Judge




1/1
